936 F.2d 573w
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Robert L. JOHNSON, Plaintiff-Appellant,v.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    No. 90-1965.
    United States Court of Appeals, Sixth Circuit.
    July 2, 1991.This Decision was originally Issued as an 'UnpublishedDecision' filed July 2, 1991.On Oct. 18, 1991, the Court Designated the opinion as one
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    